                          UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF ALABAMA

In re                                                          Case No. 16-80947-WRS
                                                               Chapter 13
RODNEY RAMARO PUGH AND
QUACHERYL KNIGHT PUGH,

      Debtors.
_______________________________________

SABRINA L. MCKINNEY AND
CARLY B. WILKINS,

         Plaintiffs,

v.
                                                               Adv. Proc. 18-08019-WRS
LAW SOLUTIONS CHICAGO, LLC DBA
UPRIGHT LAW LLC AND UPRIGHT LAW;
UPRIGHT LAW LLC; KEVIN W. CHERN;
JASON ROYCE ALLEN; AND EDMUND
SCANLAN,

         Defendants.

                       ORDER GRANTING MOTION TO WITHDRAW

        Todd D. Engelhardt and Richard P. Carmody from the law firm of Adams and Reese LLP
filed a Motion to Withdraw (Doc. 57) as counsel for Defendants. Upon consideration of the
motion, it is hereby

       ORDERED that the motion to withdraw is GRANTED and Todd D. Engelhardt and
Richard P. Carmody no longer represent Defendants in the above-referenced proceeding.

         Done this 13th day of November, 2019.




                                                           William R. Sawyer
                                                           United States Bankruptcy Judge

c:        Steve Olen, Attorney for Plaintiffs
          Allison White Smalley, Attorney for Plaintiffs
          Charles A. Armgardt, Attorney for Defendants
          Todd D. Engelhardt
          Richard P. Carmody

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